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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No.17-cr-00008-WJM-1

UNITED STATES OF AMERICA,

                     Plaintiff,

v.

1.     GUY M. JEAN-PIERRE,

                     Defendant.


         DEFENDANT JEAN-PIERRE’S MOTION TO RESTRICT DOCUMENT


       THE DEFENDANT, GUY M. JEAN-PIERRE, by and through his attorney, Clifford

J. Barnard, hereby moves this Court to restrict Defendant Jean-Pierre’s Ex Parte Amended

Motion for Appointment of Co-Counsel for the reasons stated in the brief filed in support

of this motion. Mr. Jean-Pierre requests a “Level 3" Restriction which would make access

to this document and the brief filed in support of this motion limited “to the filing party and

court” only.

       DATED this 14th day of December, 2017.

                                                   Respectfully submitted,

                                                   s/Clifford J. Barnard

                                                   Clifford J. Barnard
                                                   Attorney for Defendant Jean-Pierre
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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of December, 2017, I electronically filed the

foregoing Defendant Jean-Pierre’s Motion to Restrict Document with the Clerk of the Court

using the CM/ECF system which will send notification of such filing to the following e-mail

address(es):

       A.U.S.A. Kenneth Mark Harmon              kenneth.harmon@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following non

CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-

participant’s name:

       Guy Jean-Pierre                           Via U.S. Mail
       Register # 78606-054
       GEO Aurora Detention Facility
       3130 N. Oakland Street
       Aurora, CO 80010

                                                 s/Clifford J. Barnard

                                                 Clifford J. Barnard
                                                 Attorney for Defendant Jean-Pierre




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